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                                                                                      December 6, 2022

  VIA ECF
  The Honorable Lydia Kay Griggsby
  United States District Judge
  United States District Court for
  the District of Maryland

  Re:      OLCAN III Properties, LLC v. American Tower Corporation, No. 1:22-cv-02456-LKG
           NOTICE OF INTENT TO FILE A MOTION TO DISMISS

  Dear Judge Griggsby:

          This Firm represents Defendant, Global Tower Holdings, LLC (“Defendant”) in the
  above-captioned litigation filed by OLCAN III Properties, LLC (“Plaintiff”). On September 27,
  2022, Defendant removed the case to this Court. The litigation was originally filed in the Circuit
  Court for Baltimore City and erroneously named American Tower Corporation as the defendant.
  Plaintiff filed an amended complaint (“Amended Complaint”) on November 15, 2022 that
  substituted the defendant Global Tower Holdings, LLC in place of American Tower Corporation.

          Pursuant to Section II.A.2 of the Case Management Order [ECF No. 5], Defendant gives
  notice that it intends to file a motion to dismiss the Amended Complaint. In accordance with
  Section II.A.5 of the Case Management Order, counsel for Defendant has conferred with counsel
  for Plaintiff and a proposed briefing schedule is set forth below. Since granting Defendant’s
  motion would effectively end this litigation, the parties agree that the matters set forth herein likely
  cannot be resolved without a motion.

         Plaintiff has neglected its property for years, failing to conduct the routine upkeep and care
  required to maintain the building. Defendant’s lease space occupies only a small portion of the
  building’s rooftop. Instead of addressing the damage caused by its own neglect, Plaintiff filed this
  lawsuit in an attempt to coerce Defendant into paying for repairs at the property.1

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          Plaintiff’s harassment of its own tenant does not end with this litigation. On November 10, 2022, Plaintiff’s
  sole member, Tony Sadeghi, filed a separate lawsuit in the District Court of Maryland for the City of Baltimore against
  undersigned counsel and an in-house attorney for Defendant. See Sadeghi v. Simpson [sic], Case No.
  010100193502022.1 Despite being represented by counsel, Mr. Sadeghi has repeatedly called and emailed
  Defendant’s employees making threats and demanding immediate payment. The most recent instance occurred on



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DELAWARE FLORIDA ILLINOIS MARYLAND MASSACHUSETTS MINNESOTA NEW JERSEY NEW YORK PENNSYLVANIA WASHINGTON, DC
                                                A DELAWARE LIMITED LIABILITY PARTNERSHIP
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        The Amended Complaint should be dismissed for failure to state a claim upon which relief
may be granted.2 See FED. R. CIV. P. 12(b)(6). To survive a motion to dismiss, a complaint must
allege enough facts to state a plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The complaint must contain more
than “legal conclusions, elements of a cause of action, and bare assertions devoid of further factual
enhancement. . .” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir.
2009). “Put another way, ‘an unadorned, the-defendant-unlawfully-harmed-me accusation’ does
not state a plausible claim for relief.” Baltimore Scrap Corp. v. Exec. Risk Specialty Ins. Co., 388
F. Supp. 3d 574, 583–84 (D. Md. 2019) (quoting Iqbal, 556 U.S. at 678).

        This Amended Complaint is the textbook definition of a “defendant harmed me”
accusation. It contains just five factual allegations before the causes of action, two of which simply
introduce the parties. See Am. Compl. at ¶¶ 1-5. The Amended Complaint generally alleges:
(1) that Plaintiff and Defendant are parties to an easement agreement and net profits agreement;
and (2) Defendant’s use of the easement “has caused damage to the Plaintiff’s real and personal
property. . .” Id. at ¶¶ 3-5. Plaintiff brings claims for breach of contract; negligent
misrepresentation; negligence; and private action for public nuisance. Id. ¶¶ 6-29. The Amended
Complaint contains only bare assertions and unsupported legal conclusions, which are insufficient
to state a claim upon which relief may be granted. Fulton v. Johns Hopkins Univ., No. 21-CV-
02326-LKG, 2022 WL 2275464, at *2 (D. Md. June 23, 2022); GE Inv. Private Placement
Partners II, L.P. v. Parker, 247 F.3d 543, 548 (4th Cir. 2001).

        Under Maryland law, “‘skeletal factual allegations accompanied by nothing more than
mere conclusions and general averments of a breach of a contractual duty do not suffice to
establish’ a plaintiff's breach of contract claim.” Titan Custom Cabinets, Inc. v. Truist Bank, 505
F. Supp. 3d 558, 567 (D. Md. 2020) (quoting Cont'l Masonry Co. v. Verdel Const. Co., 279 Md.
476, 481, 369 A.2d 566, 569 (1977)). The Amended Complaint fails to allege any action, or
inaction, by Defendant that breached the easement agreement or otherwise harmed Plaintiff.
Because the Amended Complaint provides no more than “labels and conclusions” or “a formulaic
recitation of the elements,” the breach of contract claim is insufficient and must be dismissed.
Twombly, 550 U.S. at 555.



December 1, 2022. Mr. Sadeghi’s intent is clear- to harass and intimidate Defendant into acquiescing to his demands.
Plaintiff’s counsel was not involved in the filing of the additional nuisance lawsuit nor the direct contact of Defendant.

2
          Neither Defendant nor American Tower Corporation was ever properly served with a summons and copy of
the complaint as required by Maryland Rule 2-121 and FED. R. CIV. P. 5. Plaintiff’s counsel merely emailed a copy
of the state court complaint (with no summons) to Defendant’s in-house counsel. The case should be dismissed
because this Court cannot exercise personal jurisdiction over a Defendant that was not properly served. See FED. R.
CIV. P 12(b)(4); Srivastava v. Kelly Servs., Inc., No. 19-CV-03193-LKG, 2022 WL 2716868, at *4 (D. Md. July 13,
2022) (citing Koehler v. Dodwell, 152 F.3d 304, 306 (4th Cir. 1998)). Since the Amended Complaint also fails to
state a claim, it should be dismissed on the merits and with prejudice.
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         The negligent misrepresentation and negligence claims do not state a claim upon which
relief may be granted because each requires a duty independent of an existing contractual
obligation. Sun-Lite Glazing Constr., Inc. v. Berkowitz. 37 F. App’x 677 (4th Cir. 2002) (in claim
for negligent misrepresentation the alleged duty must be independent from any contractual
obligation already imposed on Defendant); Ming-Lewis v. Standard Fire Ins. Co., No. CIV.A.
CCB-05-1412, 2005 WL 1923155, at *2 (D. Md. Aug. 10, 2005) (A negligence claim based upon
breach of a contract cannot survive “absent a duty of obligation imposed by law independent of
that arising out of the contract itself. . .”); see also Mesmer v. Maryland Auto. Ins. Fund, 353 Md.
241, 725 A.2d 1053, 1059 (Md.1999).

        The negligent misrepresentation alleged by Plaintiff is that Defendant failed to fulfill a
provision of the easement agreement. See Am. Compl. at ¶ 12. In the negligence claim, Plaintiff
alleges that Defendant failed to fulfill its obligation under the easement agreement to maintain and
repair the property. See Am. Compl. at ¶ 19. The duty alleged in both claims is identical to
Defendant’s purported contractual obligations under the easement agreement. Additionally, the
Amended Complaint does not properly allege causation between Defendant’s actions or inactions
and the unspecified damage alluded to. These allegations cannot legally support claims for
negligent misrepresentation and negligence, and the claims should be dismissed.

        To plead a claim for private action for public nuisance, a plaintiff must allege that a
defendant took actions that unreasonably interfered with the community at large. Walder v.
Resthaven Mem’l Gardens, 98 Md. App. 371, 397, 633 A.2d 466, 478 (1993). The Amended
Complaint does not allege that Defendant’s conduct interfered with the rights of the community or
affected the general public. See generally Am. Compl. Therefore, the claim must be dismissed.
Tadjer v. Montgomery County, 300 Md. 539, 552, 479 A.2d 1321 (1984).

        For all of these reasons, Defendant respectfully requests an opportunity to file a motion to
dismiss. Plaintiff’s counsel is unavailable during the first two weeks of February. Therefore, the
parties have agreed to the following briefing schedule:

       February 1, 2023       Defendant shall file the motion to dismiss;
       March 1, 2023          Plaintiff shall file any opposition to the motion to dismiss; and
       March 15, 2023         Defendant shall file any reply in support of the motion to dismiss.

       We look forward to speaking with Your Honor at the Pre-Motion Conference.

                                                             Very truly yours,

                                                             /s/ Douglas A. Sampson

                                                             Douglas A. Sampson
cc:    All Counsel of Record
